        Case 6:21-cv-03237-MJJ-CBW Document 2 Filed 09/08/21 Page 1 of 6 PageID #: 34

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                       LAFAYETTE DIVISION



                GERALD CELESTINE                        )
                          Plaintiff                     )
                             v.                         ) Civil Action No. 6:21−CV−03237−MJJ−CBW
                                                        ) Judge Michael J Juneau
LAFAYETTE CONSOLIDATED GOVERNMENT , )
                et al.
               Defendant            )
                         SUMMONS IN A CIVIL ACTION

To:
Lafayette Consolidated Government




        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:
                                        Ronald S Haley
                                        Haley & Assoc
                                        8211 Goodwood Blvd Ste E
                                        Baton Rouge, LA 70806

      If you fail to do so, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   9/8/2021                                                                   /s/ − Tony R. Moore
         Case 6:21-cv-03237-MJJ-CBW Document 2 Filed 09/08/21 Page 2 of 6 PageID #: 35

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                     6:21−CV−03237−MJJ−CBW
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Lafayette Consolidated Government was received by me on
   (date)______________________________.


              • I personally served the summons on Lafayette Consolidated Government at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law
                to accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address




Additional information regarding attemped service, etc:
        Case 6:21-cv-03237-MJJ-CBW Document 2 Filed 09/08/21 Page 3 of 6 PageID #: 36

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                       LAFAYETTE DIVISION



                GERALD CELESTINE                        )
                          Plaintiff                     )
                             v.                         ) Civil Action No. 6:21−CV−03237−MJJ−CBW
                                                        ) Judge Michael J Juneau
LAFAYETTE CONSOLIDATED GOVERNMENT , )
                et al.
               Defendant            )
                         SUMMONS IN A CIVIL ACTION

To:
Lafayette Police Department




        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:
                                        Ronald S Haley
                                        Haley & Assoc
                                        8211 Goodwood Blvd Ste E
                                        Baton Rouge, LA 70806

      If you fail to do so, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   9/8/2021                                                                   /s/ − Tony R. Moore
         Case 6:21-cv-03237-MJJ-CBW Document 2 Filed 09/08/21 Page 4 of 6 PageID #: 37

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                     6:21−CV−03237−MJJ−CBW
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Lafayette Police Department was received by me on
   (date)______________________________.


              • I personally served the summons on Lafayette Police Department at
                (place)__________________________ ____________________________________ on
                (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law
                to accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address




Additional information regarding attemped service, etc:
        Case 6:21-cv-03237-MJJ-CBW Document 2 Filed 09/08/21 Page 5 of 6 PageID #: 38

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                       LAFAYETTE DIVISION



                GERALD CELESTINE                        )
                          Plaintiff                     )
                             v.                         ) Civil Action No. 6:21−CV−03237−MJJ−CBW
                                                        ) Judge Michael J Juneau
LAFAYETTE CONSOLIDATED GOVERNMENT , )
                et al.
               Defendant            )
                         SUMMONS IN A CIVIL ACTION

To:
Scott Morgan




        A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) − or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in
Fed. R. Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:
                                        Ronald S Haley
                                        Haley & Assoc
                                        8211 Goodwood Blvd Ste E
                                        Baton Rouge, LA 70806

      If you fail to do so, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                    CLERK OF COURT

Date:   9/8/2021                                                                   /s/ − Tony R. Moore
         Case 6:21-cv-03237-MJJ-CBW Document 2 Filed 09/08/21 Page 6 of 6 PageID #: 39

   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                                     6:21−CV−03237−MJJ−CBW
                                                 PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Scott Morgan was received by me on (date)______________________________.


              • I personally served the summons on Scott Morgan at (place)__________________________
                ____________________________________ on (date)_______________________; or

              • I left the summons at the individual's residence or usual place of abode with (name) _____________
                ___________________________ , a person of suitable age and discretion who resides there, on (date)
                _________________ , and mailed a copy to the individual's last known address; or

              • I served the summons on (name of individual) ______________________, who is designated by law
                to accept service of process on behalf of (name of organization) _____________________
                ________________________________________ on (date) _____________________; or

              • I returned the summons unexecuted because _____________________
                ________________________________________; or

              • Other (specify):

       My fees are $ __________ for travel and $ _________ for services, for a total of $ ______________ .

       I declare under penalty of perjury that this information is true.




            Date: _______________________                                  ______________________________
                                                                                    Server's signature

                                                                           ______________________________
                                                                                  Printed name and title



                                                                           ______________________________
                                                                                    Server's address




Additional information regarding attemped service, etc:
